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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
Filed: May 10, 2005
USA
v. Case Nurnber: 03-10009
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